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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:15−cr−00487
                                                       Honorable Matthew F. Kennelly
Adel Daoud
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 16, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Adel Daoud:
Telephonic status hearing held on 6/16/2023. The parties discussed the logistics of the
sentencing hearing. The completion of the sentencing hearing is set for 8/1/2023,
8/2/2023, 8/3/2023, and 8/8/2023 at 9:30 a.m. Case remains set for a sentencing hearing
on 6/22/2023 at 9:30 a.m. [155]. The hearing will be held in Courtroom 2103. Mailed
notice. (mma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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